\AO 2458
                                        I
                    Case 3:04-cr-00351-ADC
            (Rev.06/05)Judgmentin a CrimifralCase
                                                            Document 245           Filed 10/28/05          Page 1 of 5
            SheetI



                                     UNrrBoSrerESDISTRICT
                                                        Counr
                     FORTHE                                  District of                              PUERTORICO
         UNITED STATESOF AMERICA                                    JUDGMENT IN A CRIMINAL                     CASE
                          v.
       MIGUELANGELMADERA-CoRTIJO
                                                                    caseNumber:                       04-351(sEC)
                                                                    USM Number:                       19

                                                                    ROSA B ONINI-LARACUENTE
                                                                    Defardant'sAttomey
THE DEFENDAIIT:
        guiltyto count(s) ONE(l) andtlIElE (31q l9Mos
X pleaded
! pleadednolo contendere
                       to count(s)
  which was accepted by the court.
I was found guilty on count(s)
  aftera pleaof not guilty.

The defendantis adjudicatedguilty oftheseoffenses:

Title & Section               Nature of Offense                                                       OffenseEnded          Count
18:1956(h)                    CONSPIRACYTO COMMIT MONEY LALINDERLING                                   MAY 2003               I
                              A CLASS"C'' FELONY.
18:982                        MONEY LAUNDERING,CRIMINAL FOPJEITURE                                     MAY 2003                3



      The defendantis sentencedasprovided in pages2 through                5        of this judgment. The sentenceis imposedpursuantto
             ReformAct of 1984.
the Sentencing
! The defendanthasbeenfound not guilty on count(s)
E Coun(s)                                           fl is     E are dismissedon themotionof theUnited States.

         It is orderedthatthedefendant    mustnotifutheUnitedStatesattorneyfor thisdistrictwithin 30 daysof anychangeof name,residence,
or mailingaddress                                                      imbosedby thisjudgmentarefully paid.-If orderedto payrestitution,
                   until all fines,restitution,costs,andspecialassessments
the deferidantmustnotifu the criurt andUnited Statesahorneyof materialchlanges  in ecoriorriccircumstanb6s.

                                                                    I 0/l 8/0s
                                                                    Date of Inrposition of Judgment



                                                                    S/ Salvador F,-Casellas
                                                                    SignatureofJudge




                                                                                   U.S.DISTRICT
                                                                            CASELLAS.
                                                                    SALVADORE.                ruDGE
                                                                    Name and Title of Judge



                                                                    r0/18/05
                                        I
                                        I
                    Case 3:04-cr-00351-ADC                   Document 245            Filed 10/28/05        Page 2 of 5
AO 2458   (Rev.06i05)Judgmentin Criminaldase
          Sheet2 - Imprisonment
                                                                                                     Judgmerrt-Page _2_   of   5
DEFENDANT:                 MIGUEL ANGEL MADERA-CORTIJO
CASENUMBER:                04-CR-351(19XSEC)


                                                            IMPRISONMENT

            The defendantis herebycommittedto the custodyof the United StatesBureauof Prisonsto be imprisonedfor a
total term of:


                                                       FORTY SrX (46) MONTHS


           Thecourtmakesthefollowingrecommendations
                                                 to theBureauof Prisons:




     X     The defendant is remanded to the custody of the United States Marshal.

     !     The defendant shall surrender to the United States Marshal for this district:

           n a                                 E     a.rn     !   p.m.     on

           D     asnotifiedby theUnftedStatesMarshal.

           Thedefendant
                                       i
                     shallsunendizfor serviceof sentence
     D                                                 at theinstitutiondesignated
                                                                                 by theBweauof Prisons:
           n     before2 p.m.
           !     asnotified by the United StatesMarshal.

           n     asnotifiedby theProbationor PrefrialServicesOffice.


                                                                  RETI,JRN
I haveexecutedthisjudgmentasfollows:




          Defendant delivered

at                                                 , with a certified copy of this judgment.



                                                                                                  UNITED STATESMARSHAL


                                                                         By
                                                                                               DEPUry UNITED STATESMARSFIAL
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                                              i
AO 2458        (Rev.06/05)Judgrnartin a CriminalCase
               Sheet3 - SupervisedRelease
                                                                                                        Judgment-Page -l--       of         5
DEFENDANT:                    MIGUEL ANGEL MADERA-CORTUO
CASENUMBER:                   04-CR-351(l9XSEC)
                                                        SUPERVISEDRELEASE
Upon releasefrom irrprisonment,the defendantshall be on supervisedreleasefor a term of :

                                                             THREE (3) YEARS


    The defendantmustreDortto the probationoffice in the district to which the defendantis releasedwithin 72 hoursof releasefrom the
custodyofthe BureauofPrisons.
The defendantshall not commit anotherfederal.stateor local crime.
The defendantshallnot unlawfirllvpossess a confiolledsubstance.Thedefendantshallrefrainfrom anyunlawfuluseof a confolled
substance.The defendantshall sdbinit to one drug testwithin 15 daysof releasefrom imprisonmentanil at leasttwo periodicdrug tests
thereafter,asdeterminedby the court.
tr                                                   basedon the court's determinationthat the defendantposesa low risk of
           The abovedrug testingconditionis suspended,
           futuresubstanceabuse.(Check,if applicable.)
X          The defendantshall not possessa fueanr\ ammunition,destructivedevice,or any other dangerousweapon. (Check,if applicable,)
X          The defendantshallcooperatein thecollectionof DNA asdirectedby theprobationofficer. (Check"if applicable.)
tr         The defendantshall registerwith fte statesexoffenderregistation agencyin the statewherethe defendantresides,works, or is a
           student,asdirectedby theprobatipnofficer. (Check,if applicable.)
!          Thedefendantshallparticipatein an approvedprogtamfordomesticviolence.(Check,if applicable.)
    If this iudgmentinposes a fine or restitution,it is a conditionof supervisedreleasethat the defendantpay in accordancewith the
Scheduleof Palrnentsslieetof thisjudgment.
     The defendantmustcomply with the standardconditionsthat havebeenadoptedby this court aswell aswith any additionalconditions
on theattachedpage.

                                         STANDARD CONDITIONS OF SUPERVISION
     1)     the defendantshall not leavethejudicial distict without the permissionof the coud or probationofficer;
     2)'    thedefendantshall report to the probationofficer andshall submita tuthful and completewritten report within the first five daysof
            eachmonth;
     3)     the defendantshall answertruthfirlly all inquiriesby the probationofficer and follow the instructionsof the probationofficer;
     4)     the defendantshall supporthis or her dependentsandmeetotherfamily responsibilities;
     5)'    the defendantshallwork regularlyat a lawful occupation,unlessexcusedby the probationofficer for schooling,taining, or other
            acceptablereasons;
     6)     the defendantshall notify theprobationofficer at leastten daysprior to any changein residenceor employnent;
     7\-                                         useof alcoholandshallnot purchase,
            thedefendantshallrefrainfrom excessive                                possess,use,distrilute, or administerany
            conholledsubstance ot anypataphemalia                                eicept asprescribedby a physician;
                                                 relatedto anycontrolledsubstances,
     8)                                                                 areillegally sold,used,distributed,or administered;
            the defendantshallnot frequentplaceswherecontrolledsubstances
     9)'    the defendantshallnot associate                                                            with anypersonconvictedof a
                                          with anypersonsengagedin qriminalactivityandshallnot associate
            felony,unlessgrantedpermissionto do do'bytheprobaiionofficer;
    10)     the defendantshall permit a probatioirofficer to visit him or her at anytime at homeor elsewhereandshallpermit conliscationof any
            contrabandobserve'd  in plaiirview of theprobationofficer;
    I l)    the defendantshall notify theprobationofficer w'ithinseventy-twohoursof beingarrestedor questionedby a law enforcementofficer;
      - the defendan!qhall not enterinto any agreementto act as an informer or a specialagentofa law enforcementagencywithout the
    12)
        permissionof the court;and
      ' asdirectedbv theprobationoffrcer.thedefendantshallnotifuthird partiesof risksthatmaybe occasioned
    13)                                                                                                           by thedefendant's criminal
        record or peisonal history or chaiacteristicsand shall penirit the probation officer to rilake such notifications and to confirm the
        defendanttscompliancedith suchnotificationrequirement.
                                 I
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                                         I
          (Rev. 06/05) Judgmentin a Criminbl Case
AO 2458
          Sheet3A - Supenvised  Release
                                                                                 Judgmurt-Page --4-   of --l-
DEFENDANT:               MIGUELANGELMADERA.CORTUO
CASENUMBER:              04-cR-351(leXSEC)

                                   ADDITIONAL       SUPERVISED RELEASE TERMS

1. The defendantshallnot commitanotherFederal,state,or local crime,andshallobservethe standardconditions
            releaserecommended
of supervised                   by the United StatesSentencing  Commissionandadoptedby this Court.

2. Thedefendantshallnot unlawfullypossess
                                        controlledsubstances.

                                                                                      weapons.
                                          firearms,destructivedevices,andotherdangerous
3. The defendantshallrefrainfrom possessing

4. Thedefendantshallrefrainfrom the unlawfuluseof controlledsubstances        andsubmitto a drugtestwithin
fifteen(15) daysof release;thereafter,submitto randomdrugtest,not to exceed104samplesper yearin
accordance with the Drug AftercareProgramPolicy of the U.S. ProbationOffice approvedby this Court. If any
suchsamplesdetectsubstance   abuse,the defendantshallparticipatein a drugtreatmentprogrcm(in-patientor
out-patient)in accordancewith suchpolicy. The defendantis requiredto contributeto the costof sorvices
rendered(co-payment)  basedon the ability to pay or availabilityof third partypayments,asapprovedby the
court.

5. The defendantshallsubmithis person,residence,  office or vehicleto a search,conductedby a U.S.Probation
                      time andin a reasonable
Officer at a reasonable                        manner,baseduponreasonable     suspicionof contrabandor
evidenceof a violationof conditionof release;failureto submitto a searchmay be groundsfor revocation;the
defendantshallwarn any otherresidentsthatthepremisesmaybe subjectto searches      pursuantto this condition.

6. The defendantshallcooperatein thethe collectionof a DNA sampleasdirectedby theU.S. ProbationOfficer,
pursuantto theRevisedDNA CollectionRequirements,    andTitle 18,U.S. Code3563(aX9).
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                    Case
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                     Judgmentin a CriminalCase
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          Sheet5 Criminal MonetarvPenalties
                                                                                                     Judgmart- Page -5-      of --5-
DEFENDANT:                     MIGUELANGELMADERA-CORTUO
CASENUMBER:                    04-cR-351(19XsEC)
                                     CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                   Assessment                                            Fine                              Restitution
TOTALS           $ 100.00                                              $ 0                               $ 0



tr   Thedeterminationofrestitutionisdefeneduntil                      . An AmendedJudgmentin a Crirninal Case(AO245C) will be entered
     after suchdetermination.

tr   The defendantmustmakerestitution(including communityrestitution)to the following payeesin the amountlisted below

     If thedefendantmakesa partialpa)ment,eachpayeeshallreceivean approximately proporlionedpayment,unl-ess
                                                                                                          specifiedotherwisei'-t
                                   jlayment
     thepriority order.or perc^entage -                                                         nonfederalvictimsmustbe paid
                                          coluninbelow. However,pursuantto l8IIS.C. $ 3664Q),-al1
     befiirethe'UnitedStdtesis paid.-

Nameof Pavee                               Total Loss*                            RestitutionOrdered                Prioritv or Percentase




TOTALS                                                            0           $


tr   Restitutionamountorderedpursuantto plea agreement $

tr   The defendantmustpay intereston restitutionanda fine of morethan$2,500,unlessthe restitutionor fine is paid in full beforethe
     fifteenthdayafterthedateofthejudgment,pursuantto    18U.S.C.$ 3612(0. AllofthepaymentoptionsonSheet6maybesubject
     to penaltiesfor delinquencyanddefault,pursuantto 18U.S.C.$ 3612(9).

tr   The court determinedthat the defendantdoesnot havethe ability to pay interestandit is orderedthat:

      n   the interestrequirementis w{ived for the       tr       fine    n   restitution.
                                      i


      n   the interestrequirementfor the      n   fine        !       restitutionis modifredasfollows:


* Findingsforthe totalamountoflossesarerequiredunderChapters
                                                          109A,110,I l0A, and113AofTitle 18foroffensescommittedonorafter
Septemb-er 13, l994,but beforeApnl 23, 1998.
